                                   15-36280-cgm       Doc 58-1      Filed 10/17/18       Entered 10/17/18 12:53:11           Schedule C
Case No.: 15-36280 (cgm)                                         Chapter 13 Fee
                                                                             Pg Application
                                                                                1 of 1                                                              Schedule C
Case Name: Janine Sutton                                           March 29, 2017 - May 1, 2018
       (1)               (2)               (3)                (4)              (5)                  (6)             (7)               (8)              (9)
    Applicant        Initial Fee      Amount of Initial Amount of Initial Amount of Initial   Additional Fees   Additional        Amount of        Amount of
                      Charged            Fee Paid         Fee Filed as      Expenses            Requested        Expenses       Additional Fees    Additional
                                                         Administrative     Collected                           Requested          Awarded          Expenses
                                                             Claim                                                                                  Awarded

The Law Office
of Rick Cowle,
P.C.                     $3,190.00          $2,190.00         $1,000.00              $0.00         $1,100.00           $0.00         $1,100.00            $0.00




Revised September 2011                                  DATE ON WHICH ORDER WAS SIGNED: ____________                                        INITIALS: _______ USBJ
